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Settlement. The Escrow Agent shall, without need for further Court order, distribute to St. Paul
Fire and Marine Insurance Company such amounts as demanded within ten (10) days of written
demand by Si. Paul Fire and Marine Insurance Company, and the Escrow Agreement, the
Preliminary Approval Order and the Final Approval Order and Judgment shall so provide.
Notice of each such demand for payment shall be contemporancously provided by St. Paul Fire
and Marine Insurance Company to Class Counsel! pursuant to Section V(11) below, and to the
Special Master and CADA. Neither the filing nor pendency of any objection to the demand for
disbursement shall serve as a basis to preclude the disbursement.

13. Subject to the occurrence of the Effective Date of Class Settlement, the Parties
agree, subject to the Court’s approval, to the selection and appointment of a Special Master to
serve upon and after the Effective Date of Class Settlement. The Parties agree to recommend to
the Court one or more Persons for the role of Special Master, and further agree that any Person(s)
so recommended must be mutually acceptable to Plaintiffs and the Settling Defendants each in
their sole and absolute discretion. Subject to the Court’s approval, the Special Master shall have
the authority after the Effective Date of Class Settlement to contract with others and/or retain
such Persons as may be necessary to carry out the Special Master’s responsibilities. The Special
Master’s duties and responsibilities shall include but are not limited to the study and
recommendation to the Court of the proper and best disposition and/or protocol for the
disposition of the remaining Escrowed Funds. At all times, the Special Master shall carry out
his/her responsibilities in as economical and effective manner as possible. Except as provided in
Sections IJI(12)(a) and (b), the Special Master must obtain Court Approval for any requested
payment from the remaining Escrowed Funds. Notwithstanding the foregoing or any other

provision of this Class Settlement Agreement or of any other document, the Special Master shall

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not be entitled to any compensation payment from, and shall have no rights in, the Escrowed
Funds unless there is the occurrence of the Effective Date of Class Settlement. Subject to the
foregoing, after the Effective Date of Class Settlement the Special Master shall be paid in
accordance with a proposed budget submitted in advance and approved by Class Counsel, and
approved by the Court.

14. ‘The Parties agree to the selection and appointment of Daniel H. Clavier, Jr., CPA,
Bourgeouis Bennett, 111 Veterans Blvd. 17° Floor, New Orleans, LA 70005, Phone: (504) 831-
4949; Fax: (504) 833-9093, to serve subject to the Court’s approval as the CADA; provided
however, that if he/she shall be unable to serve for any reason, any other Person to be appointed
as CADA shall be mutually acceptable to Plaintiffs and the Settling Defendants each in their sole
and absolute discretion. The CADA’s duties include but are not limited to the payment of
amounts from the Escrowed Funds prior to the Effective Date of Class Settlement as limited by
the terms of this Agreement (including specifically Sections 12(a) and 12(b) above), and after the
Effective Date of Class Settlement assisting the Special Master in the administration and
disposition of the remaining Escrowed Funds, or as so ordered by the Court. Except as provided
in Sections IH(12)(a) and (b) and V1(2), the CADA must obtain Court approval for any requested
payment from the Escrowed Funds. Subject to the foregoing, the CADA shall be paid in
accordance with a proposed budget submitted in advance and (a) approved (4) by Class Counsel
and by counsel for St. Paul Fire and Marine Insurance Company (to the extent that the work is to
be, or may be, undertaken prior to the Effective Date of Class Settlement) and (ii) by Class
Counsel (to the extent that the work is to be undertaken after the Effective Date of Class

Settlement), and (b) approved by the Court.

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15. Subject expressly to the limitations set forth in this Agreement, Notice Costs,
Special Master fees and costs, Escrow Agent costs and fees, CADA fees and costs, the fees and
costs of any Person retained by the Special Master or CADA, and other costs, fees and expenses
incurred in the implementation of this Class Settlement Agreement (including but not limited to
the costs and fees of all experts of the Parties up to an amount to be agreed to by the Settling
Defendants in their sole and absolute discretion) and the disposition of the Escrowed Funds may
be paid from the Escrowed Funds.

16. Class Counsel and counsel of any Class Member shall have the right to seek an
award from the Escrowed Funds for fees, costs and expenses (including any enhancement of
costs and expenses as may be awarded by the Court) and shall have the right to make an
application to the Court for same; provided however, that such request(s) may be made only after
the occurrence of the Effective Date of Class Settlement. Class Counsel agree to recommend to
the Court that no attorney’s fees should be awarded from the Escrowed Funds, and shall oppose
any such request(s).

17. Notwithstanding any other provision of this Class Settlement Agreement or of any
other document, the Settling Defendants shall not be liable for, and shal! have no responsibility
for payment of, any Class Counsel’s attorney’s fees, costs and expenses, Class Member's
attorney's fees, costs and expenses, Special Master fees and costs, CADA fees and costs, court
costs, Notice Costs, the fees and costs of any Person retained by the Special Master or CADA,
and/or other costs and fees associated with the Litigation, the approval and/or implementation of
this Class Settlement Agreement, the administration of Claims, and/or the disposition of the

Escrowed Funds. Notwithstanding any provision of this Agreement or of any other document,

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the Settling Defendants shall have no obligation to pay any amount beyond the Insurance Policy
Limits and Judicial interest.

18. Until the Effective Date of Class Settlement, no funds in the Escrow Account
shall be used or disbursed ‘other than to pay certain fees, costs and expenses as provided in this
Class Settlement Agreement. It is hereby stipulated and agreed that, prior to the Effective Date
of Class Settlement, (1) St. Paul Fire and Marine Insurance Company has, and shall retain,
exclusive night, title and interest, both legal and equitable, m and to the Escrowed Funds
(including without limitation the Insurance Policy Limits, the Judicial Interest and all Accrued
Interest), and (41) no other Person (including, but not limited to, Plaintiffs, Plaintiffs’ counsel,
counsel for any Class Member, the Special Master, the CADA, Class Counsel and Class
Members) shall have any nght, title or interest, whether legal or equitable, in or to said Escrowed
Funds; provided however, that this provision shall not prevent the payment of Notice Costs and
amounts that may be paid to the CADA, the Escrow Agent and/or St. Paul Fire and Marine
Insurance Company prior to the Effective Date of Class Settlement from the Escrowed Funds
pursuant to Sections IIN12)(a) and/or HI(12)(b) above. Further, the Escrow Agent may be
granted a lien on the Escrowed Funds solely to secure amounts owed to the Escrow Agent under
the Escrow Agreement.

19. The Litigation shall be maintained as a non-opt-out, mandatory class action
pursuant to Rule 23(b)(1)(B) of the Federal Rules of Civil Procedure. Any change in class
treatment by Court order or otherwise that entails providing opt-out rights to Class Members in
connection with this class settlement shall be deemed a material modification of the Class
Settlement Agreement such that any Settling Defendant, in its sole and absolute discretion, may

elect to treat the modification as a Class Termination Event pursuant to Section VI(1).

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20. Upon the Effective Date of Class Settlement: (a) except as otherwise provided
herein, the remaiing Escrowed Funds shall vest in and to the benefit of the Settlement Class; (b)
except as otherwise provided herein, the interests of the Released Parties in the remaining
Escrowed Funds shall cease; (c) the Released Parties shall no longer have any responsibilities or
obligations with respect to the remaining Escrowed Funds or the disposition thereof; (d) the
Released Parties shall have no further obligations to the Settlement Class or the Class Members,
and (e) Class Counsel shail execute and file in the Litigation a satisfaction of judgment with the
Clerk of Court, in form and content satisfactory to the Settling Defendants in their sole and
absolute discretion.

IV. RELEASES, INDEMNITY, AND JURISDICTION OF COURT

1. As of the Effective Date of Class Settlement, all Class Members, and anyone
claiming through or on behalf of any of them, fully, finally, and forever release, waive,
discharge, surrender, forego, give up, abandon, and cancel any and all Released Claims against
the Released Parties.

2. As of the Effective Date of Class Settlement, all Class Members, and anyone
claiming through or on behalf of any of them, will be forever barred and enjoined from
prosecuting any action against the Released Parties asserting any and/or all Released Claims
released by this Class Settlement Agreement.

3. The execution of this Class Settlement Agreement shall not be constmed as a
release of any Claims the Class Members may have against Third Persons, including but not
limited to National Union, which are expressly reserved. All Class Members reserve all Claims
(including but not limited to any and all rights and causes of action no matter how arising under
any ordinance, code, law, statute, federal or state, pending or dismissed, known or unknown)
against any and all Third Persons named or who or which could have been named in the Pending

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Actions, including but not limited to the Barge Consolidated Class Action, the Levee
Consolidated Class Action, and the MR-GO Consolidated Class Action.

4. The Parties agree that the Settlement Class and each of the Class Members shail
reduce or satisfy any judgment it or they may obtain against a Third Person, including but not
limited to National Union, to the extent necessary to extinguish any Claims for Contribution,
Indemnity, and/or Subrogation, whether ansing under tort, contract or otherwise, by such Third
Person agaist the Released Parties. It is the imtent of the Parties that the Released Parties shail
have no further hability in connection with the Released Claims.

5. It is expressly understood and agreed that the judgment reduction obligations
detailed above shall exist regardless of the legal basis for the claim, demand, cause of action,
right of action, liability, lien, or judgment demand asserted by any Person to the extent related to
the Released Claims against any Released Party. In particular, the Class Members expressly
bind themselves to the foregoing judgment reduction obligations regardless of whether the claim,
demand, suit, liability, lien, judgment, cause of action, or nght of action is based on or related to
(a) the negligence of any of the Released Parties, sole or concurrent; (b) the strict hability of any
of the Released Parties under any theory whatsoever; (c) the absolute hability of any of the
Released Parties; (d) the wanton, reckless, or willful misconduct of any of the Released Parties;
(e) any actual, alleged or purported nght, asserted by any Settling Defendant or any Class
Member under a policy of insurance issued by St. Paul; or (f} any other basis whatsoever.

6. As of the Effective Date of Class Settlement, the Levee Defendants, and/or any
Person who or which derives any nght or Claims from or through the Levee Defendants, hereby
(i) release any Claims whatsoever against St. Paul, including, but not limited to, all Claims for

liability, indemnity, “duty to defend,” and/or bad faith refusal to settle, under Louisiana law or

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any other law (including common law) arising out of, or related in any way to, the Levee
Failures, the Released Claims, the Litigation, or the other Pending Actions (including but not
limited to the MR-GC Consolidated Class Action, Barge Consolidated Class Action, and Levee
Consolidated Class Action) and/or which could have been asserted therein, and/or any and all
past, present, and/or future Claims arising out of or related to indemnity, “duty to defend,”
claims handling, claims adjustment, breach of contract, breach of duty or duties, negligent
inspection, negligent engineering, breach of warranty of uniformity, failure to warn, breach of
implied warranty of fitness for an intended purpose, breach of good faith and fair dealmeg, bad
faith, interference with contractual relationships, deceptive trade practices, unfair trade practices,
unfair settlement practices, Claims under LSA-R.S. 22:1220, LSA-R.S. 22:655, LSA-R-S.
22:658, conduct in violation of any insurance code, or any other alleged misconduct, omission,
or wrongdoing of any kind, arising out of the Levee Failures, the Released Claims, the
Litigation, or the other Pending Actions (including but not limited to the MR-GO Consolidated
Class Action, Barge Consolidated Class Action, and Levee Consolidated Class Action) and (ii)
agree and stipulate (a) that the aggregate policy limits under the Limited Fund Policies,
individually and collectively, have been exhausted, and (b) that St. Paul has no further duty to
defend and/or indemnify any Person or Persons under the Limited Fund Policies, mdividually
and/or collectively.

7. Notwithstanding any other provision of this Class Settlement Agreement, the
Court shall retain continuing jurisdiction over the Litigation, the Class, the Class Members, and
the Class Settlement Agreement for the purposes of administering, supervising, construing and
enforcing same, and also continuing and exclusive jurisdiction over the Class Settlement Funds

and the distribution of same to Class Members.

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Vv. ADDITIONAL PROVISIONS

1, The Parties specifically acknowledge, agree and admit that this Agreement and its
exhibits, along with all related drafts, motions, pleadings, conversations, negotiations and
correspondence, shall be considered a compromise within the meaning of Louisiana Code of
Evidence article 408, Federal Rules of Evidence article 408, and any equivalent rule of evidence
of any state, and shail not (i) constitute, be construed, be offered, or received into evidence as an
admission of the validity of any Claim or defense, or the truth of any fact alleged or other
allegation in the Litigation, the Pending Actions, or im any other pending or subsequently filed
action, or of any wrongdoing, fault, violation of law, or liability of any kind on the part of the
Settling Defendants, or (11) be used to establish a waiver of any defense or right, or to establish or
contest jurisdiction or venue, The Parties also agree that this Agreement, any orders, pleadings or
other documents entered in furtherance of this Agreement, and any acts in the performance of
this Agreement are not intended to be, nor shall they in fact be, admissible, discoverable or
relevant in any case or other proceeding against all and/or any Settling Defendants to establish
grounds for certification of any class involving any Class Member, against St. Paul to prove
either the acceptance by any Party hereto of any particular theory of coverage, or as evidence of
any obligation that any Party hereto has or may have to anyone. The provisions of this Class
Settlement Agreement, and any orders, pleadings or other documents entered in furtherance of
this Agreement, may be offered or received in evidence solely (i) to enforce the terms and
provisions hereof or thereof, (ii) as may be specifically authorized by a court of competent
jurisdiction after contradictory hearing upon application of a Party hereto, (iii) in order to
establish payment, an affirmative defense or exception in a subsequent case, including res
judicata, (iv) in connection with any motion to enjoin or stay any of the Pending Actions, or (v)
to obtain Court approval of the Class Settlement Agreement.

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2. The terms and conditions of the Class Settlement Agreement shall bind and inure
to the benefit of the predecessors, successors, heirs, legatees, and assigns of all Parties.

3. Unless and until this Agreement is terminated, Plaintiffs, Settlhmg Defendants and
Class Counsel each agree to cooperate in taking all steps necessary to obtain stays, and/or
impunctions of all Claims as to the Settling Defendants, and extensions of any delays or deadlines
for filing or serving pleadings, memoranda, or discovery, in the Pending Actions.

4. Approval of the form and substance of the documents, pleadings, and orders
descnbed im this Class Settlement Agreement shall be conclusively evidenced by written
approval by Class Counsel and counsel for the Settling Defendants, on behalf of their respective
clients.

5. The waiver by a Party of any term, condition, covenant, or breach of the Class
Settlement Agreement shall not be deemed to be a contmuing waiver of same.

6, The foregoing constitutes the entire agreement among the Parties and may not be
modified, amended or waived except in writing duly executed by Class Counsel and counsel for
the Settling Defendants. No prior draft of this Agreement, nor any negotiations or proceedings in
pursuance of this Agreement, nor any other parol evidence, shall be offered or received as
evidence concerning the interpretation or construction of this Agreement, except as provided by
Louisiana law.

7. Prior to the Final Approval Order and Judgment becoming a Final Judgment, this
Class Settlement Agreement may, with approval of the Court, be modified by wntten agreement
of counsel for the Settling Defendants and Class Counsel in their discretion without giving any
additional notice to the Class (other than the notice given with respect to the settlement, the

Certification Hearing and the Fairness Hearing), provided that such modifications are not

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materially adverse to the Class. Such modifications without additional notice may include the
adjustment in the amount of the Escrowed Funds that does not reduce the amount of the
Escrowed Funds (e.g., a correcting increase im the calculation of Judicial Interest}, modification
or exchusion of certain costs, fees and/or expenses to be paid from the Escrowed Funds and the
determination of, and/or modifications to, the process to be approved by the Court for disposition
of the Escrowed Funds.

&. To the extent that Class Members desire to be notified regarding any additional
changes as described in paragraph 7 immediately above, the recommendations of the Special
Master as described m paragraph IlI(12)(a) above, or otherwise after the initial notice of the
settlement, the Certification Hearing, and the Fairness Hearing, said Class Members must file
with the Clerk of Court in the Litigation a request for notice, or send such a request in writing to
Class Counsel, who shall maintain a list of all such requests that are received. Class Members
who have and who provide an e-mail address agree to electronic notification. The provisions of
this section advising Class Members of this requirement shall be included and emphasized in the
initial notice to Class Members regarding the settlement, the Certification Hearing and the
Fairness Hearing.

9. Subsequent to the Final Approval Order and Judgment becoming a Final
Judgment, this Class Settlement Agreement may, with approval of the Court, be modified by
written agreement of counsel for the Settling Defendants and Class Counsel in their discretion
without giving any additional notice to the Class, provided that such modifications do not limit
the nghts of the Class Members under the Class Settlement Agreement.

10. This Class Settlement Agreement shall be governed by and construed in

accordance with the laws of the State of Louisiana.

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11. Notices of withdrawal from this Class Settlement Agreement as per the provisions
of Section V1 shall be in writmg and forwarded by facsimile or by Federal Express or similar

services providing proof of immediate or overnight delivery to the following:

Joseph M. Bruno

LAW OFFICES OF JOSEPH M. BRUNO
855 Baronne Street

New Orleans, Louisiana 70113
Telephone: (504) 525-1335

Facsimile: (504) 561-6775

ON BEHALF OF CLASS COUNSEL,

AND AS LIAISON COUNSEL FOR
LEVEE AND MR-GO-PLAINTIFF
SUBGROUP LITIGATION COMMITTEES

Gerald E. Meunier

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
2800 Energy Centre

1100 Poydras Street

New Orleans, Louisiana 76163-2800

Telephone: (504) 522-2304
Facsimile: (504) 528-9973

LIAISON COUNSEL FOR LEVEE-PLAINTIFF
SUBGROUP LITIGATION COMMITTEE

James P. Roy

Domengeaux Wright Roy & Edwards
556 Jefferson Street

Lafayette, LA 70502

Telephone: (337) 593-4190
Facsimile: (337) 233-2796

LIAISON COUNSEL FOR MR-GO-PLAINTIFFP
SUBGROUP LITIGATION COMMITTEE

Thomas P. Anzelmo
MCCRANIE, SISTRUNK, ANZELMO, HARDY,

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MAXWELL & MCDANIEL

3445 N. Causeway Boulevard, Suite 800
Metairie, Louisiana 70002

Telephone: (504) 831-0946

Facsimile: (504) 831-2492

ATTORNEYS FOR THE BOARD OF COMMISSIONERS FOR THE ORLEANS
LEVEE DISTRICT AND THE ORLEANS LEVEE DISTRICT

Gary M. Zwain

DUPLASS, ZWAIN, BOURGEOL, PFISTER & WEINSTOCK
Three Lakeway Center, Suite 2900

3838 North Causeway Boulevard

Metairie, Louisiana 70002

Telephone No.: (504) 832-3700

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ATTORNEYS FOR THE BOARD OF COMMISSIONERS FOR THE EAST
JEFFERSON LEVEE DISTRICT, THE EAST JEFFERSON LEVEE DISTRICT, THE
BOARD OF COMMISSIONERS FOR THE LAKE BORGNE BASIN LEVEE
DISTRICT AND THE LAKE BORGNE BASIN LEVEE DISTRICT

Ralph F. Hubbard II

LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD
601 Poydras Street, Suite 2775

New Orleans, LA 70130

Telephone: (504) 568-1990

Telecopier: (504) 310-9195

and

S. Ault Hootsell U1]

PHELPS DUNBAR LLP
Canal Place

365 Canal Street, Suite 2000
New Orleans, LA 70130-6534
Telephone: (504) 566-1311
Telecopier: (504) 568-9130

ATTORNEYS FOR ST. PAUL FIRE AND MARINE INSURANCE COMPANY

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12. The headings of each section and paragraph of this Agreement are included for
convenience only and shall not be deemed to constitute part of this Agreement or to affect iis
construction.

13. This Agreement has been negotiated at arm’s length, with the participation of the
Parties. In the event of any dispute arising out of this Agreement, or m any proceeding to
enforce any of the terms of this Agreement, no one shall be deemed to be the drafter of this
Agreement or of any particular provision or provisions, and no part of this Agreement shail be
construed against any Party on the basis of that Party’s identity as the drafter of any part of this
Agreement.

14. Nothing in the negotiation or execution of this Agreement or in the performance
of this Agreement according to its terms shall be deemed to be or cited as an act of bad faith,
basis for extra contractual lability, or as a violation of any statute, regulation or duty owed by
any Party to another Party.

15. This Agreement may be executed in multiple originals and shall become effective
on the date each of the said originals has been signed by all of the Parties. Due to the importance
of ime and the distance separating the Parties, it is expressly agreed that copies of the executed
signature pages may be sent by telefax between the Parties and that these telefaxed signatures,
when received, shall be effective as onginal signatures for any and all purposes. Once executed,
multiple originals of the Agreement signed by all Parties shall be delivered thereafter by mail or
otherwise to the Parties after the telefaxed signatures have been received.

VI. TERMINATION OF THIS CLASS SETTLEMENT AGREEMENT

i. Each Party shall have the nght to withdraw from this Class Settlement Agreement
at any tume before the Effective Date of Class Settlement m their sole and absolute discretion
upon giving written notice of withdrawal m accordance with Section V(11) above:

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E.

if the Court does not preliminarily certify the Settlement Class and
preliminarily approve the settlement; or

If the Court, after the Certification and Fairness Hearings, denies
certification of the Settlement Class or denies approval of the settlement;
provided however, that if the basis for such denial(s) (i) may be addressed
through modification(s) of the Class Settlement Agreement which can be
presented again to the Court without the need for additional notice to the
Class and (11) each Settling Defendant agrees to such modification(s) m
writing on or before the seventh (7th) business day of receiving a notice of
withdrawal by the Plaintiffs under this section, then such notice shall be
deemed rescinded and Plaintiffs hereby agree to such modifications and to
present same jointly to the Court with the Settling Defendants; or

if the Court's order(s) or judgment(s) certifying the Settlement Class and
approving the settlement are reversed on appeal; provided however, that
such reversal(s) (1) may be addressed through modification(s) of the Class
Settlement Agreement which can be presented again to the Court without
the need for additional notice to the Class and (ii) each Settling Defendant
agrees to such modification(s) in writing on or before the seventh (7th)
business day of receiving a notice of withdrawal by the Plaintiffs under
this section, then such notice shall be deemed rescinded and Plaintiffs
hereby agree to such modifications and to present same jointly to the
Court with the Settling Defendants; or

If this Class Settlement Agreement is modified other than pursuant to
Section V(7) above; or

If Class Counsel and counsel for all Settling Defendants mutually agree to
the termination of this Agreement; or

As otherwise provided in this Class Settlement Agreement.

Notwithstanding any provision to the contrary herein, St. Paul Fire and Marine Insurance

Company shall additionally have the right to withdraw from this Class Settlement Agreement at

any time before the Effective Date of Class Settlement in its sole and absolute discretion upon

giving written notice of withdrawal in accordance with Section V(11) above:

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a.

if the Notice Costs are not acceptable to St. Paul Fire and Marine
Insurance Company in its sole and absolute discretion; or

If the Court does not prior to, or contemporaneously with, the preliminary

certification of the Settlement Class and preliminary approval of the
settlement by the Court, stay (including discovery) all Claims as to the

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Released Parties in the Pending Actions, or such stay once entered is
subsequently vacated or modified mm any way; or

c. lf, after the Certification and Fairness Hearings, the Court does not prior
to, or contemporaneously with, the entry of the order(s) or judgment(s)
certifying the Settlement Class and approving the settlement by the Court,
stay (including discovery) all Claims as to the Released Parties in the
Pending Actions, and enjoin all Class Members (and all persons claiming
by, through or on behalf of a Class Member) from pursuing any Released
Claims against the Released Parties, or such stay of the Pending Actions
and/or injunction against the pursuit of Released Claims once entered is
subsequently vacated or modified in any way; or

d. if there is a judicial determination either (i) that there exists insurance
coverage that is available to the Class under Levee Defendant insurance
policies other than the Limited Fund Policies and/or the National Union
Policy, or (ii) that the coverage available under the Limited Fund Policies
exceeds the Insurance Policy Limits ($17,000,000.00).

2. The term “Class Settlement Termination Event” shall mean the failure of a notice
of withdrawal pursuant to Section V(11)} above to be rescinded in writing by the Party(s) that
gave ‘such notice, on or before the seventh (7th) business day after the giving of the notice.
Notwithstanding any other provision of the Class Settlement Agreement (or of any other
document), on the occurrence of a Class Setthkement Termination Event, all remaining Escrowed
Funds (that is, the Insurance Policy Limits and Judicial Interest deposited pursuant to Section
IH(4) above, plus al Accrued Interest, less any amounts paid therefrom in accordance with the
terms of this Agreement pnor to the receipt by the Escrow Agent of St. Paul Fire and Marine
Insurance Company's notice of withdrawal from the Escrow Agreement) less only any then
outstanding amounts owed to the Escrow Agent, shall be immediately released from the Escrow
Account (and from each sub-account therein) to St. Paul Fire and Marine Insurance Company
free and clear of any Claims or alleged rights thereto of any other Persons, including, but not

limited to, Plaintuffs, Plaimtiffs’ counsel, counsel for any Class Member, the Special Master, the

CADA, Class Counsel and Class Members. Neither the filing nor pendency of any objection to

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the release of the Escrowed Funds to St. Paul Fire and Marine Insurance Company shall serve as
a basis to preclude the release. After the release from the Escrow Account fo St. Paul Fire and
Marine insurance Company of all remaining Escrowed Funds free and clear of any Claims or
alleged rights thereto of any other Persons, the Amended Complaint shall without further order
of the Court be vacated without prejudice pursuant to the Preliminary Approval Order, and this
Class Settlement Agreement shall thereafter terminate and be null and void for all purposes, and
of no further force and effect, with all Parties having the same rights, claims and defenses as if
this Class Settlement Agreement were never executed; provided however, that, notwithstanding
the foregoing, Sections III{4)(b), V(1) above and this Section VI(2) shall survive termination of
this Class Settlement Agreement.

3. Notwithstanding any other provision of the Class Settlement Agreement (or of
any other document), if this Class Settlement Agreement is terminated, (a) the Agreement shall
have no effect on the nights of the Parties or the Class Members (3) to take action in support of or
in opposition to class certification in the Pending Actions, or any other action; or (11) to prosecute
or defend the Pending Actions, or any other action and (b) subject expressly to the reservation
and preservation of nghts and defenses in favor of the Settlmg Defendants contained im this
Class Settlement Agreement, the Parties and all Class Members shall be restored to their
respective satus que ante immediately prior to the date the Parties sign this Agreement. In such
event, the Agreement and all negotiations, proceedings, documents prepared and statements
made in connection herewith shall be without prejudice to the Settling Defendants and Plaintiffs,
and shall not be deemed or construed to be an admission or confession by or against any Party of

any fact, matter, or proposition of law.

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4. Upon the occurrence of a Class Termination Event, notice of same shall be filed
into the record in the Litigation.

VIE REPRESENTATIONS AND WARRANTIES

1. Each Party arid their counsel represent and warrant that he or she agrees to assist
in causing all conditions precedent to the Effective Date of Class Settlement to occur.

2. Each named Plaintiff represents and warrants that he/she/it has not assigned or
transferred his/her/its interest in the Litigation and/or his/her/its Claims which are the subject of
this Class Settlement Agreement, in whole or in part, and each named Plaintiff hereby agrees that
if anyone should hereafter commence, jom in or in any manner seek relief through any suit or
Claim arising out of, based upon or relating to any interest or Claum, or portion thereof, assigned
or transferred by said Plaintiff, then said Plaintiff, shall defend, indemnify and hold the Released
Parties harmless from and against any such suit or Claim.

3. Each of the signatories to this Agreement warrants he/she is authorized and
empowered to execute this Agreement.

4, Each named Plaintiff acknowledges that he or she has been represented by
counsel of his or her own choosing in connection with the Litigation and the negotiation and
execution of this Class Settlement Agreement and that he or she has had a reasonable and
sufficient opportunity to consult with counsel to the extent that he or she desires before executing

this Class Settlement Agreement.

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NO.99960878.1
Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09 Page 18 of 27

IN WITNESS WHEREOF, each of the parties hereto has caused this Agreement to be

duly executed and delivered in its name and on its behalf as cf the daies set forth below.

Dated: 7 /" LF

Dated:

Dated:

Dated:

NO.99960878,1

INDIVIDUAL PLAINTIFFS

Name:

LAW OFFICESOF JOSEPH M. BRUNO

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By: bc

‘Joseph M. Bruno
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Loe
ON BEHALF OF CLASS COUNSEL, AND AS
LIAISON COUNSEL FOR LEVEE AND MR-GO-
PLAINTIFF SUBGROUP LITIGATION
COMMITTEES

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Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09 Page 19 of 27

IN WITNESS WHEREOF, each of the parties hereto has caused this Agreement to be

duly executed and delivered in its name and on its behalf as of the dates set forth below,

INDIVIDUAL PLAINTIFFS
Dated:
Name:
Dated: B-AO- Kowal J deaceen g
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| /
Dated: B-13 -2.COF A phd Mh Zann
Namef
LAW OFFICES OF JOSEPH M. BRUNO
Dated: By:

Joseph M. Bruno

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ON BEHALF OF CLASS COUNSEL, AND AS
LIAISON COUNSEL FOR LEVEE AND MR-GO-
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Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09 Page 20 of 27

Dated:

Dated:

Dated:

NO.99960878.1

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Warshauer, L.L.C.

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Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09 Page 21 of 27

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Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09 Page 22 of 27

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ATTORNEYS FOR THE BOARD OF
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JEFFERSON LEVEE DISTRICT, THE EAST
JEFFERSON LEVEE DISTRICT, THE BOARD
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BORGNE BASIN LEVEE DISTRICT, AND THE
LAKE BORGNE BASIN LEVEE DISTRICT

Dated:

Name:

Chairman of the Board of Commissioners of the
Southeast Louisiana Flood Protection Authority-
East, acting on behalf of the Southeast Louisiana
Flood Protection Authority-East, the Orleans Levee
District, the East Jefferson Levee District, the Lake
Borgne Basin Levee District and each of their
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ATTORNEYS FOR THE BOARD OF
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JEFFERSON LEVEE DISTRICT, THE EAST
JEFFERSON LEVEE DISTRICT, THE BOARD
OF COMMISSIONERS FOR THE LAKE
BORGNE BASIN LEVEE DISTRICT, AND THE
LAKE BORGNE BASIN LEVEE DISTRICT

Las f esd

Name:

Chainman of the Board of soon of the
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East, acting on behalf of the Southeast Louisiana
Flood Protection Authority-East, the Orleans Levee
District, the East Jefferson Levee District, the Lake
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Name:

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Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09 Page 26 of 27

Dated: | 30 / >

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Case 2:05-cv-04182-SRD-JCW Document 19256-3 Filed 09/09/09

EXHIBITS
Exhibit ©A”- List of Known Pending Actions
Exhibit “B”- Form of Preliminary Approval Order

Exhibit “C” - Form of Fimal Approval Order and Judgment
Exhibit “D” - Investment Instructions
Exhibit “E” - Amended Complaint

Exhibit “F” -- Joint Motion

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